 From:           Debra Frost
 To:             PGEInfo@primeclerk.com
 Subject:        CLAIM FORM/NOTICE RECEIVED AFTER CLAIM DEADLINE: PG&E Bankruptcy Case #19-30088 (DM)
 Date:           Friday, May 1, 2020 3:12:24 PM
 Attachments:    2020-04-18 USPS-PG&E Bankruptcy Late Delivery.pdf
 Importance:     High


 Primeclerk LLC:

 This email is to provide written notice the Bankruptcy Notice for PG&E Corporation Case
 #19-30088 (DM) and Recission or Damage Claim Form was received AFTER the claim
 filing deadline of 04/16/2020. See attached USPS email “Informed Delivery” dated
 04/18/2020 (Saturday) that clearly shows the letter from Primeclerk LLC was NOT delivered
 in time for the claim form to be submitted by the deadline of 04/16/2020. The referenced
 document was not received by the recipient until between 04/21/2020 and 04/23/2020.

 This information should be provided to the United States Bankruptcy Court, Northern
 District of California, San Francisco Division. The Debtor’s failure to deliver required notice
 in a timely manner and provide adequate time to file should not be a valid reason for denial
 of the claim.

 Thank you for your assistance in this matter.

 Sincerely,

 Debra Jean Frost
 Prior PG&E Employee
 432 W Shaw Road
 Elizabeth, IL 61028
 530-260-4478




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